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EXHIBIT "C"

 
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CAUSE NO.C-3999-19-L_

ALEJANDRO GONZALES, JR., § IN THE DISTRICT COURT
Plaintiff, §
§
VS. §  ______ JUDICIAL DISTRICT
§
DONNA INDEPENDENT SCHOOL DISTRICT, §
Defendant. § HIDALGO COUNTY, TEXAS

 

PLAINTIFF’S ORIGINAL PETITION

 

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW Plaintiff, ALEJANDRO GONZALES, JR., and files this his Original
Petition complaining of Defendant DONNA INDEPENDENT SCHOOL DISTRICT and for good
cause shows unto the court as follows:

|. DISCOVERY-CONTROL PLAN

Plaintiff intends to conduct discovery under Level 3 of Texas Rule of Civil Procedure
190.3.

ll. PARTIES

Plaintiff ALEJANDRO GONZALES, JR. is an individual who resides in Hidalgo
County, Texas.

Defendant DONNA INDEPENDENT SCHOOL DISTRICT (hereinafter referred to as
“Donna ISD”) is a political subdivision of Hidalgo County, Texas. Donna ISD can be served
with process by serving the Superintendent of Schools, Dr. Hafedh Azaiez at 904 Hester
Ave., Donna, Texas 78537.

lll. JURISDICTION & VENUE

This Court has jurisdiction over the lawsuit and venue is proper in this court because

these occurrences giving rise to this lawsuit occurred in Hidalgo County, Texas. Plaintiff

seeks damages within the jurisdictional limits of this court.

 
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IV. ADMINISTRATIVE PROCEDURES

Plaintiff has exhausted all administrative remedies necessary to initiate this lawsuit
against Defendant.

V. FACTS

At all times relevant to the actions giving rise to this lawsuit, Plaintiff was an employee
of the Donna ISD in his capacity as auxiliary personnel in a non-contract capacity. On
September 13, 2017, Defendant Donna ISD notified Mr. Gonzales that his employment with
Donna ISD was terminated pursuant to action taken by the Donna ISD Board of Trustees. At
the time of his termination, Plaintiff was recovering from a medical condition and had taken
time off pursuant to the Family and Medical Leave Act (“FMLA”). In addition, Plaintiff had
supported a rival political group in the 2016 Donna ISD School Board Elections and the
majority in power on the Donna ISD School Board at the time of the termination acted in
retaliation as a result of Plaintiff exercising his freedom of speech and political affiliation.

As a result of the Defendants bad acts in terminating Plaintiff for political retaliation,
because of his age and in violation of the FMLA, Plaintiff suffered dramatically. Specifically,
Plaintiff's medical insurance benefits through his employer were immediately terminated and
he was left without the ability to provide for basic medical treatment. In addition, as a result of
the Defendant’s bad acts, Plaintiff's benefits under the Teacher Retirement Systems (“TRS”)
were severely penalized and he suffered severe monetary losses.

Vi. CAUSES OF ACTION
Plaintiff will show that Donna ISD did not have “good cause” to terminate his
employment with Donna ISD. Plaintiff will show that he was discriminated against in
violation of the Texas Commission of Human Rights Act (“TCHRA’”). Plaintiff will show that
there was no legitimate justification for his termination in that he was never reprimanded,
has an unblemished employment record and outstanding evaluations.

Plaintiff alleges that his pre-textual employment termination is part of a larger

 
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unwritten plan or scheme of the Defendant to retaliate against him. An employer is
precluded by Texas statutes from discharging an individual or otherwise discriminating
based on race, color, disability, religion, sex, national origin or age.

CIVIL CONSPIRACY
Defendant Donna ISD, through its Board of Trustees entered into a conspiracy to
remove, reassign and ultimately terminate the Plaintiff from his employment with the Donna
ISD. This civil conspiracy included overt acts of governance and conduct that resulted in
retaliation against Plaintiff. Such conspiracy constitutes political retaliation and is in violation
of the law. This civil conspiracy ultimately resulted in the Plaintiff's constructive termination
from Donna ISD.
Vil. DAMAGES
The Plaintiff will show that as a result of bad acts described herein, he has suffered
past and future loss of wages, loss of medical benefits, loss of retirement benefits and will
suffer mental anguish in amounts exceeding the minimum jurisdictional limits of this court.
Plaintiff will show that he in good faith sought for Donna ISD to handle this mater
administratively and that the Defendant's retaliation reflects an entire want of care toward
his situation and therefore he is entitled to exemplary damages. As a result Plaintiff has
incurred reasonable attorney’s fees.
Vill. JURY DEMAND

Plaintiff makes his demand for jury trial in the above styled and numbered cause in
accordance with the Rules of Civil Procedure. Plaintiff will tender his jury fee to the District
Clerk of Hidalgo County, in accordance with the applicable statutes and laws of the State of
Texas.

IX. REQUESTS FOR DISCLOSURE
Pursuant to Rule 194, Defendants are requested to disclose, within 50 days of service

of this request, the information or material described in Rule 194.2 of the Texas Rule of Civil

 
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Procedure.
X. PRAYER
WHEREFORE, Plaintiff ALEJANDRO GONZALES, JR. request that Defendant be
cited to appear and answer. That Plaintiff, upon trial of this matter, to receive a judgment
against Defendant DONNA INDEPENDENT SCHOOL DISTRICT in an amount exceeding
the minimum jurisdictional limits of this court. The Plaintiff further requests any other
general or specific relief, both in equity and at law that he may justly show himself entitled
to. The Plaintiff requests prejudgment and post judgment interest at the prevailing judgment

rate. The Plaintiff further requests his costs of court.

Respectfully submitted,

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ATTORNEY FOR PLAINTIFF
ALEJANDRO GONZALES, JR.

 
